Case 3:17-cv-00072-NKM-JCH Document 1358 Filed 10/28/21 Page 1 of 5 Pageid#: 22353




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                         CASE NO. 3:17-cv-00072
                                    Plaintiffs,

                            v.                            ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                   Defendants.


          Before the Court is Plaintiffs’ motion to modify Magistrate Judge Hoppe’s sanctions

   order against Defendant James Fields. Dkt. 1266. Because of Fields’ refusal to participate in a

   properly noticed deposition, Judge Hoppe ordered that Fields would not be permitted to testify in

   his own defense at trial. See Dkt. 1237 at 36. But he left it to this Court to decide whether Fields

   could be called to testify by one of his co-defendants. See id. Plaintiffs had also requested that

   Judge Hoppe order adverse inference instructions as a sanction for Fields’ refusal, citing his Fifth

   Amendment privilege against self-incrimination, to answer certain requests for admission

   (“RFAs”). See id. at 34. That request was denied, without prejudice, because it was not properly

   tailored to the unanswered RFAs. See id at 34–35. Plaintiffs have now proposed four tailored

   instructions. See Dkt. 1266 at 9. In addition to those instructions, Plaintiffs ask this Court to

   order that no Defendant may call Fields to testify and that the jury be provided with a pre-

   deliberation jury instruction explaining the absence of testimony from Fields. See id. at 1.

          Fields only opposes the pre-deliberation jury instruction. See Dkt. 1289 at 1. No other

   Defendants has filed a motion on this matter.




                                                     1
Case 3:17-cv-00072-NKM-JCH Document 1358 Filed 10/28/21 Page 2 of 5 Pageid#: 22354




          The only co-Defendant who has indicated a desire to call Fields is Defendant Cantwell.

   See Cantwell’s Witness List 1 (listing Fields as among the witnesses who Cantwell “may call in

   his case in main”), Dkt. 1086; Def. Cantwell’s Obj. to Pls.’ Mot. 1 (“I have a limited number of

   questions I would like my co-defendant [James Fields] to answer, such as if he ever listened to

   my podcast, and what went through his mind when Dwayne Dixon pointed an AR-15 at him just

   before the car crash.”), Dkt. 1055.

          Rule 37(b)(2)(A)(ii) allows for sanctions against a party for failing to participate in a

   properly noticed deposition, including by “prohibiting the disobedient party from supporting or

   opposing designated claims or defenses, or from introducing designated matters in evidence.”

   The Fourth Circuit has explained that when fashioning a Rule 37(b) sanction, the district court

   should consider: “(1) whether the non-complying party acted in bad faith, (2) the amount of

   prejudice that noncompliance caused the adversary, (3) the need for deterrence of the particular

   sort of non-compliance, and (4) whether less drastic sanctions would . . . be[] effective.” S. States

   Rack & Fixture, Inc. v. Sherwin-Williams Co., 318 F.3d 592, 597 (4th Cir. 2003). It is evident

   that Fields has no interest in testifying in this case. And because Fields’ co-Defendants are not

   responsible for Fields’ failure to comply with discovery orders, there is little deterrence purpose

   served by imposing a limitation on their ability to offer evidence. Moreover, given the limited

   purpose for which Cantwell has suggested he might call Fields, and the questionable

   admissibility of that purpose, at this time the likelihood of any prejudice to Plaintiffs is too low

   to justify the novel sanction Plaintiffs propose.

          Plaintiffs also request the following adverse inference instructions be imposed as a

   sanction for Fields’ failure to respond to RFAs:

                  1. You are permitted, but not required, to infer that Defendant
                  James Fields, on August 12, 2017, drove into a crowd of

                                                       2
Case 3:17-cv-00072-NKM-JCH Document 1358 Filed 10/28/21 Page 3 of 5 Pageid#: 22355




                  pedestrians because of the actual or perceived race, color, religion
                  and/or national origin of individuals in the crowd, because in
                  response to Plaintiffs’ request that he admit that fact, Mr. Fields
                  invoked the Fifth Amendment privilege against self-incrimination.
                  ECF 1003-11 (Def. Fields’ Resp. to Pls. First Set of Reqs. for
                  Admis., RFA 43)

                  2. You are permitted, but not required, to infer that Defendant
                  James Fields hit pedestrians with his Dodge Challenger on August
                  12, 2017, and was motivated to do so by animosity towards non-
                  white individuals, because in response to Plaintiffs’ request that he
                  admit that fact, Mr. Fields invoked the Fifth Amendment privilege
                  against self-incrimination. ECF 1003-11 (Def. Fields’ Resp. to Pls.
                  First Set of Reqs. for Admis., RFA 122)

                  3. You are permitted, but not required, to infer that Defendant
                  James Fields, on August 12, 2017, was not in reasonable
                  apprehension of death or great bodily harm, because in response to
                  Plaintiffs’ request that he admit that fact, Mr. Fields invoked the
                  Fifth Amendment privilege against self-incrimination. ECF 1003-
                  11 (Def. Fields’ Resp. to Pls. First Set of Reqs. for Admis., RFA
                  69)

                  4. You are permitted, but not required, to infer that Defendant
                  James Fields hit pedestrians with his Dodge Challenger on August
                  12, 2017, and was motivated to do so by animosity towards Jewish
                  individuals, because in response to Plaintiffs’ request that he admit
                  that fact, Mr. Fields invoked the Fifth Amendment privilege
                  against self-incrimination. ECF 1003-11 (Def. Fields’ Resp. to Pls.
                  First Set of Reqs. for Admis., RFA 123)

   An adverse inference instruction has been found an appropriate remedy where the instruction

   counter-acts the prejudice to a party that results from their RFA being rejected after a valid

   invocation of the Fifth Amendment. 1 See e.g., U.S. ex rel. DRC, Inc. v. Custer Battles, LLC, 415

   F. Supp 2d 628, 632–33 (E.D. Va. 2006) (granting an instruction that jurors are permitted, but

   not required, to draw an adverse inference from defendant’s Fifth Amendment-based refusal to




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     Plaintiffs do not challenge the validity of Fields’ invocation of his right against self-
   incrimination. Dkt. 1003 at 22 (“As to the RFA responses, Plaintiffs concede Fields validly
   asserted his Fifth Amendment rights.”).
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Case 3:17-cv-00072-NKM-JCH Document 1358 Filed 10/28/21 Page 4 of 5 Pageid#: 22356




   answer RFAs). But the adverse inference instructions proposed by Plaintiffs in this case are

   obviated by Fields’ plea agreement in a related criminal action in this Court. See Dkt. 1003, Ex.

   16, 18. That agreement included a sworn “Statement of Offense” that Fields agrees he cannot

   contradict in his civil trial. See Dkt. 1037 at 5–7. In that statement, Fields admits, among other

   things, that he “drove into the crowd because of the actual or perceived race, color, religion,

   and/or national origin of individuals in the crowd, and his actions in doing so were willful and

   included an attempt to kill.” Dkt. 1003, Ex. 18. It is unnecessary to “level the evidentiary playing

   field”, Dkt. 1003 at 2, when the fact at issue has been conceded. However, in case that should

   change, or the Plaintiffs’ offer a persuasive reason that Fields’ Statement is inadequate to meet

   their case, Plaintiffs’ request will be denied without prejudice to consideration of these adverse

   inference instructions being offered at the close of trial.

           Finally, Plaintiffs request that the Court provide the following instruction to the jury to

   explain Fields’ failure to testify at trial:

                     You may have noticed that Defendant James Fields, unlike other
                     Defendants, did not testify at trial. That is not because he chose not
                     to testify. Defendant Fields refused to testify at a properly noticed
                     deposition during the discovery process in this case. To level the
                     evidentiary playing field that may have been skewed as a result of
                     Defendant Fields’s conduct, I have issued the appropriate sanction
                     against him and prohibited him from testifying at trial.

   Dkt. 1266 at 8. The Court fails to see the relevance of such an instruction. Fields’ non-

   compliance with a discovery order does not tend to make any element of Plaintiffs’ claims more

   or less likely.

           Plaintiffs’ motion, Dkt. 1266, is DENIED without prejudice.

           It is so ORDERED.

           The Clerk of Court is directed to send a copy of this Order to all counsel of record.



                                                       4
Case 3:17-cv-00072-NKM-JCH Document 1358 Filed 10/28/21 Page 5 of 5 Pageid#: 22357



                       28th
         Entered this ________ day of October, 2021.




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